
80 So. 3d 1146 (2012)
Jamar B. YOUNG, Appellant,
v.
DEPARTMENT OF REVENUE o/b/o Natalis PIROOZGAR, Appellee.
No. 4D11-2790.
District Court of Appeal of Florida, Fourth District.
March 7, 2012.
Jamar B. Young, Royal Palm Beach, Pro Se.
Pamela Jo Bondi, Attorney General, Tallahassee, and Toni C. Bernstein, Senior Assistant Attorney General, Tallahassee, for appellee.
PER CURIAM.
In this appeal, the Department of Revenue has conceded error in the computation of appellant's income in the child support guidelines, explaining: "In addition to Appellant's earned income, the unemployment compensation benefits that he had previously received and was no longer receiving were incorrectly included as Appellant's income in the guidelines."
Accordingly, we reverse the Final Administrative Support Order and remand this matter to the lower tribunal for further administrative proceedings.
Reversed and Remanded.
STEVENSON, TAYLOR and LEVINE, JJ., concur.
